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                  IN THE UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                             SAVANNAH DIVISION

UNITED STATES OF AMERICA


vs.                                           CASE NO. 4:19-204


LISA WILLIAMS

              ORDER TO TEMPORARILY MODIFY CURFEW

      IT IS HEREBY ORDERED, upon Defendant’s motion, that Defendant’s

curfew during the following period be modified for the below stated reason:

  Extend from 9:00 P.M. to 10:00 P.M. March 4, 2020 and the additional evenings,
  all in 2020, of March 11, 18, and 25 and April 1, 6, 7, 8, 9 and 10 to attend Lenten
  and Holy Week Services at Taylor Chapel AME Church at 107 Darling Street,
  Savannah with family and church family members.

       SO ORDERED this WK day of March, 2020.

                                              ______________________
                                              Christophherr L. Ray
                                               Christopher
                                               8QLWHG6WDWHVMagistrate Judge
                                               6RXWKHUQ'LVWULFWRI*HRUJLD
